Nameande§sasz:19-cv-01109-Dl\/lc3-KS Documem 0 Filed 02/15/19 Pagelofe PagelD#:ao

Steven L. Woodrow
Woodrow & Peluso, LLC
3900 E. Mexico Ave., Suite 300
Denver, Colorado 80210

 

UNITED STATES DISTRIC'I` COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

M. Papadopoulos Dental Corp., et al., CASE NUMBER
Plaintiff(s), 2:19~cv~01109
v. _
First Continuing Education Administration, LLC APPLICATION OF NON'RESIDENT ATTORNEY
TO APPEAR IN A SPECIFIC CASE
Defendant(s), PRO HAC VICE

 

 

INSTRUCTIONS FOR APPLICANTS

(l) The attorney seeking to appear pro hac vice mast complete Section l of this Application, personally sign, in ink, the certification in
Section II, and have the designated Local Coansel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing ( issued within the last 30
days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
completed Application with its original ink signature together with any attachment(s), to a single Portable Docament Format (PDF)file.

(2) Have the designated Local Coansel file the Application electronically using the Coart's CM/ECP System ("Motions and Related Filings
=> Applications/Ex Parte Applications/Motions/Petitions/Reqaests => Appear Pro Hac Vice (G»64)"), attach a Proposed Order ( using
Form G~64 ORDER, availablefrorn the Coart's website), and pay the required $400fee online at the time offiling (asinga credit card).
Thefee is requiredfor each case in which the applicantfiles an Application. Failare to pay thefee at the time offiling will be groiindsfor
denying the Application. Out-of~state federal government attorneys are not required to pay the $400fee. (Certain attorneys for the
United States are also exempt from the requirement of applying for pro hac vice statas. See L.R. 83~2.1.4.) A copy of the G-64 ORDER in
Word or WordPerfect format must be emailed to the generic chambers email address L.R. 5-4.4.2.

sECTIoN 1 - INPGRMATION

Woodrow` Steven L.

 

 

 

 

 

 

 

Applicant's Name (Last Name, First Name e’a Middle Initial) l check here if federal government attorney l:l
Woodrow & Peluso` LLC

Firm/Agency Name g

3900 E. Mexico Ave. 720-213~()675 303-927-0809

Suit€ 300 Telephone Namber Fax Namber

Street Address

Denver. Colorado 80210 swoodrow@WoodroWoeluso.com

City, State, Zip Code E~mail Address

I have been retained to represent the following parties:

M. Paoadoooulos Dental Coro. §§ Pl“intW($) l:l Defe"d“”t($) l:l Other:
|:] Plainti]j((s) Defendant(s) |:] Other:

 

Name(s) of Party( ies) Represented

List all state and federal courts (including appellate courts) to Which the applicant has been admitted, and provide the current status of his or
her membership Use Section IV if more room is needed, or to provide additional information

 

 

 

 

Name of Coart y Date of Admission Active Member in Good Standing? ( if not, please explain)
Sur)reme Court of Illinois 11/10/2005 Yes
Suoreme Court of Colorado 5/11/2011 Yes
US Court of At)oeals‘ Seventh Circuit 3/28/2011 Yes

 

 

G~64 (11/18) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIPIC CASE PRO HAC VICE Page l of 3 '

 

 

List all cases:lnE [w; §ich' lde_a:pp_licanl llas_ applied lo lhis l lourt ¥or pro gac vice s§alus m the/ pr ryvioli)s&lgr%e¢ yae arTs b`t)contingee 1n "S)ec;{ionllV if

needed):

 

 

 

 

 

Case Numl)er Title ofAction Date of ADDlication Granted / Denied?
19-cv~00()98 Benitez v. Powerline Fundine` LLC 1/21/2019 Granted
18-cV-01753 Herrera V. Soothe. lnc. 10/1/2018 Granted
lS-cv~03893 Munoz v. 7-Eleven. lnc. 5/15/2018 Granted
18-cv-03886 lmamura v. Eaton Corooration 5/15/2018 Granted
17-cv-03843 Hulsev v. Peddle` LLC 5/31/2017 Granted

 

If any pro hac vice applications submitted Within the past three (3) years have been denied by the Court, please explain;

 

 

 

 

Has the applicant previously registered as a CM/ECF user in the Central District of California? Et:] Yes |:| No
If yes, was the applicant's CM/ECF User account associated with the e'mail address provided above? 1:] Yes [:] No

 

Previous E-mail Used ( if applicable )

Attorneys must he registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to he admitted to practice pro hac
vice in this Court. Suhmission of this Application will constitute your registration (or re~registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either he issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.

SECTION II - CERTIFICATION

 

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) l am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
professional, or other activities in the State of California.

(3) I am not currently suspended from and have never been disbarred from practice in any court.

(4) l am familiar With the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
and the Pederal Rules of Evidence.

(5) l designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
Rul€ 83-2.1.3.4.

Dat€d 2/15/2019 Steven L. Woodrow
Applicant's,Narne (please type orprint)
/

:»M

Applicant's Signature

 

 

G-64 (11/18) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 2 of 3

 

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SECTION III - DESIGNATION OF LOCAL COUNSEL

Aschenbrener` Michael l.
Designee's Name (Last Name, First Name d Middle Initial)

KamberLaw. LLP

 

 

 

Firm/Agency Name

9404 Genesee Ave. 303-222~0281 858-800~4277
Suite 340 Telephone Numher Fax Number
SW€€Y Addr€$$ masch@kamherlaw.com

 

E~ 'l Add
La lolla. California 92037 mm ms

City, State, Zip Code 277114
Designee’s California State Bar Numher

 

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that l maintain an office in the
Central District of California for the practice of law.

Dat€d 2/15/2019 Michael l. Aschenbrener
Designee's Name (please type or print)

Desig/nee/Signature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

 

Admissions (cont.)

~ US Court of Appeals, Ninth Circuit - 9/19/2012 - active and in good standing

~ US District for the ND of Illinois - 1/12/2006 - active and in good standing

- US District for the ED of Michigan - 6/30/2010 - active and in good standing

- US District of Colorado - 9/7/2011 - active and in good standing

~ US District for the WD of Michigan - 4/8/2013 - active and in good standing

- US District for the WD of Wisconsin ~ 6/15/2016 - active and in good standing
- US District of New Mexico - 6/20/2016 ~ active and in good standing

Admitted Pro Hac Vice (cont.)

- 16-cv-()2331 ~ Ambrezewicz v. Leadpoint, Inc. ~ 11/17/2016 - Granted

- 16~cv~08085 - Botelho v. Tech. Med. Advan. LLC ~ 11/04/2016 ~ Granted
~ 16~cv-05785 - Parker v. Answer Financial » 8/15/2016 - Granted

- 16~cv-00326 - Sweetser v. Scout Industries, LLC ~ 3/11/2016 ~ Granted

 

 

 

 

 

 

G~64 (11/18) APPLICAT!ON OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 3 0f3

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STATE 0F CoLoRADo, 551

1, cheryl stevens clerk aj the supreme com of the state aj

Colorado, do hereby certify that

Steven L. Woodrow

has been duly licensed and admitted to practice as an

</ITTORNEY AND COUNSELOR AT fA\v

within this Stale,' and that his/her name appears upon the Roll of Attorneys

 

 

th
and Counselors at Law in my ojice of date the .11
day of May A. D. 2011 and that at the date hereof
the Sa,~d Steven L. Woodrow

 

is in good standing at this Bar.

IN WITNESS WHEREOF, l have bereunto subscribed myname and
afxed t/)e Seal of said Supreme Court, at Denver, in said State, this

 

 

 

 

1 7”' day of Januarv A‘ D_ 2019
Cheryl Stevens
/ can
By daily M. ni?iu`@t
// l Deputy Clerk

 

 

Case 2:19-cv-01109-DI\/|G-KS Document 10 Filed 02/15/19 Page 5 of 5 Page |D #:34

 

Certificate of Admission
To the Bar of lllinois

l, Carolyn Taft Grosboll, Clerk of the Supreme Court of lllinois, do hereby certify that
‘Steven Lezell Woodrow

has been duly licensed and admitted to practice as an Attorney and Counselor at
Law Within this State; has duly taken the required oath to support the
CONST|TUTIGN OF THE UNlTED STATES and of the STATE OF lLLlNOlS, and
also the oath of office prescribed by law, that said name Was entered upon the Roll
of Attorneys and Counselors in my office on 11/10/2005 and is in good standing, so
far as the records of this office disclose

lN WlTNESS WHEREGF, l have hereunto
subscribed my name and affixed the
seal of said Court, this 17th day of
January, 2019.

Ca)\t@q/CEZ§¢ Gu>sdo@€

Clerk,
Supreme Court of the State of illinois

 

 

 

 

